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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
         Plaintiff,                              )
                                                 )
v.                                               )   No. 4:14 CR 372 JAR (DDN)
                                                 )
DOMINIC J. PAVIA,                                )
                                                 )
         Defendant.                              )

                 MOTION FOR PRETRIAL DETENTION AND HEARING

     Comes now the United States of America, by and through its Attorneys, Richard G.

Callahan, United States Attorney for the Eastern District of Missouri, and Robert F. Livergood,

Assistant United States Attorney for said District, and moves the Court to order defendant

detained pending trial, and further requests that a detention hearing be held three (3) days from

the date of defendant's initial appearance before the United States Magistrate pursuant to Title

18, United States Code, §3141, et seq.

       The Government asserts:

1) Because of defendant's present charge, there is a presumption that no conditions of bond
can ensure the community's safety.
Defendant is charged with Receipt of Child Pornography in violation of Title 18, USC, Section
2252A(a)(2).

Title 18, U.S.C. Section 3142(e) states that:

Subject to rebuttal by the person, it shall be presumed that no condition or combination of
conditions will reasonably assure the appearance of the person as required and the safety of
the community if the judicial officer finds that there is probable cause to believe that the
person committed an offense...involving a minor victim under section...2251...

Defendant cannot show that there is any condition or combination of conditions that will
assure the safety of the community.
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       WHEREFORE, the Government respectfully requests that the Court order the defendant

to be detained pending trial.



                                                Respectfully submitted,

                                                RICHARD G. CALLAHAN
                                                United States Attorney


                                                s/Robert F. Livergood____ ____
                                                ROBERT F. LIVERGOOD, #35432MO
                                                Assistant United States Attorney
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